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MAGISTRATE JUDGE MARY ALICE THEILER

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, NO. CR21-032JCC
Plaintiff,
REPORT AND RECOMMENDATION
Vv. CONCERNING PLEA OF GUILTY
CAMERON SHEA,
Defendant.

 

 

The defendant, by consent, has appeared before me pursuant to Rule 11, Fed. R. Crim. P.,
and has entered a plea of guilty to the charge contained in Counts 1 and 5 of the Superseding
Indictment. After examining the defendant under oath, I determined that the guilty plea was
knowingly, intelligently, and voluntarily made, and that the offense charged is supported by an
independent basis in fact containing each of the essential elements of such offense.

I therefore ordered a presentence report. Subject to the Court's consideration of the Plea
Agreement pursuant to Fed. R. Crim. P. 11(c)(1)(B), I recommend that the defendant be adjudged
guilty and have sentence imposed.

DATED this _ 7th day of April, 2021.

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MARY ALICE THEILER
United States Magistrate Judge

NOTICE
Objections to this Report and Recommendation are waived unless filed and served within
fourteen (14) days. 28 U.S.C. § 636(b)(1)(B).

REPORT AND RECOMMENDATION UNITED STATES ATTORNEY

United States v. Cameron Shea 700 STEWART STREET, SUITE 5220
° SEATTLE, WASHINGTON 98101

CR20-032J5CC - 1 (206) 553-7970
